           Case2:13-cr-00018-JCM-GWF
          Case  2:13-cr-00018-RTB Document 855852Filed
                                     Document           08/09/18
                                                    Filed 08/07/18 Page
                                                                    Page11ofof44




 1   ALISON L. ANDERSON
     Trial Attorney
 2   Fraud Section, Criminal Division
     U.S. Department of Justice
 3   1400 New York Avenue, NW
     Washington, DC 20530
 4   (202) 616-1682
 5
                          UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF NEVADA
 7                                    -oOo-
 8    UNITED STATES OF AMERICA,                    )
                                                   )
 9                                                 )
                     Plaintiff,                    )
10                                                 )
11                   v.                            )   CASE NO. 2:13-cr-00018-JCM-GWF
                                                   )
12    LEON BENZER,                                 )
                                                   )   JOINT STIPULATION FOR
13                                                 ) CONTINUANCE OF SENTENCING
                     Defendant.                    )
14                                                 )

15
                 JOINT STIPULATION FOR CONTINUANCE OF SENTENCING
16
            By and through counsel, the Defendant, Leon Benzer, and the Government, stipulate to the
17
     continuance of the Defendant’s sentencing hearing from August 10, 2018 to August 17, 2018 at
18
     10:00 a.m. The parties request this because the Defendant is in custody and the Marshals have
19
     advised that the Defendant will not be transferred to Las Vegas until the afternoon of August 16th.
20

21

22                                         DATED this 7th day of August, 2018.

23
                                           Respectfully submitted,
24
                                           SANDRA M. MOSER
25                                         Acting Chief
                                           United States Department of Justice,
26
                                           Criminal Division, Fraud Section




                                                     1
      Case2:13-cr-00018-JCM-GWF
     Case  2:13-cr-00018-RTB Document 855852Filed
                                Document           08/09/18
                                               Filed 08/07/18 Page
                                                               Page22ofof44




 1                            /s/ Alison L. Anderson
 2                            ALISON L. ANDERSON
                              Trial Attorney
 3                            United States Department of Justice
                              Criminal Division, Fraud Section
 4
                              /s/ Wendi Overmyer
 5
                              WENDI OVERMYER
 6                            Counsel for Defendant Leon Benzer

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            Case2:13-cr-00018-JCM-GWF
           Case  2:13-cr-00018-RTB Document 855852Filed
                                      Document           08/09/18
                                                     Filed 08/07/18 Page
                                                                     Page33ofof44




 1                        UNITED STATES DISTRICT COURT
 2                             DISTRICT OF NEVADA
                                      -oOo-
 3
      UNITED STATES OF AMERICA,                      )
 4                                                   )
                                                     )
 5                   Plaintiff,                      )
                                                     )
 6
                     v.                              )       CASE NO. 2:13-cr-00018-JCM-GWF
 7                                                   )
      LEON BENZER,                                   )
 8                                                   )       CERTIFICATE OF SERVICE
                                                     )
 9                   Defendants.                     )
                                                     )
10

11           I, the undersigned, hereby certify that this pleading was filed with the clerk of court via
12   ECF and will be served electronically via ECF on all parties that have entered their appearances
13   in this case.
14

15           Dated: August 7, 2018
16

17                                                           SANDRA M. MOSER
                                                             Acting Chief
18                                                           United States Department of Justice,
                                                             Criminal Division, Fraud Section
19

20
                                                             /s/ Alison L. Anderson
21                                                           ALISON L. ANDERSON
                                                             Trial Attorney
22                                                           United States Department of Justice
                                                             Criminal Division, Fraud Section
23

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                                                         3
           Case2:13-cr-00018-JCM-GWF
          Case  2:13-cr-00018-RTB Document 855852Filed
                                     Document           08/09/18
                                                    Filed 08/07/18 Page
                                                                    Page44ofof44




 1                       UNITED STATES DISTRICT COURT
 2                            DISTRICT OF NEVADA
                                     -oOo-
 3
      UNITED STATES OF AMERICA,                   )
 4                                                )
                                                  )
 5                  Plaintiff,                    )
                                                  )
 6
                    v.                            )       CASE NO. 2:13-cr-00018-JCM-GWF
 7                                                )
      LEON BENZER,                                )
 8                                                )
                                                  )
 9                  Defendant.                    )
                                                  )
10

11                                      [PROPOSED] ORDER
12
            Upon stipulation of the parties, it is hereby ORDERED that the sentencing hearing for
13
     Defendant Leon Benzer be continued from August 10, 2018 until August 17, 2018 at 10:00 a.m.
14
             DATED August 9, 2018.
15

16
                                                                _____________________________
17                                                              The Honorable James C. Mahan
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